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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  OBJECTIONS TO SPECIAL MASTER
                                              RULINGS ON APPLE INC.’S
                  Defendant, Counterclaimant. PRODUCTIONS OF RE-REVIEWED
                                              PRIVILEGED DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Judge Hixson,

         Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Objections to
certain of the Special Masters’ rulings on February 24, 2025 and March 4, 2025 on Apple’s
production of re-reviewed and privileged documents identified by Epic as “priority” review
documents. We are submitting these documents for in-camera review contemporaneously with
this filing.

       Apple’s objections relate only to documents Apple believes are not already covered by
Your Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this
post-judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to
documents affected by those rulings, including any post-judgment appellate rights.
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Entry No. 1540 (PRIV-APL-EG_00085160) on the January 6, 2025 Privilege Log.
Entry No. 1540 (PRIV-APL-EG_00085160) is a Quip document—a shared collaborative
workspace—regarding new customer management and refund capabilities Apple was developing,
and which is largely unredacted. Apple proposed redactions only to a handful of exchanges
between Patricia Huynh (in-house counsel) and various non-lawyers in which Ms. Huynh seeks
information from non-lawyers regarding various aspects of the planned changes.
“[C]ommunications between corporate personnel and their in-house counsel made for the purpose
of securing legal advice are protected by [attorney-client] privilege,” United States v.
ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal. 2002), as are “confidential
disclosures” made “to an attorney in order to obtain legal advice,” In re Meta Healthcare Litig.,
2024 WL 3381029, at *2 (N.D. Cal. July 10, 2024). The redacted exchanges with in-house counsel
are therefore privileged.




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Entry No. 561 (PRIV-APL-EG_00154061) on the January 22, 2025 Privilege Log.
Entry No. 561 (PRIV-APL-EG_00154061) is an email chain regarding updates to certain draft
developer communications in advance of the launch of the U.S. entitlement program. Apple
proposed redactions only to a handful of exchanges with Apple in-house counsel Ling Lew, where
Ms. Lew describes the changes she made to the Apple developer support page and addendum in
advance of the entitlement program’s launch. The communications concern legal and compliance
topics. In another redacted message, Ms. Ling shares a revision to a draft developer
communication based on the result of a then-recent court decision. Ms. Ling shared her draft
communications to a group of individuals, including both lawyers and non-lawyers. Attorney
client privilege applies to “communications for the purpose of giving legal advice,” Labbe v.
Dometic Corp., 2023 WL 5672950, at *4 (E.D. Cal. Sept. 1, 2023), and “communications between
corporate personnel and their in-house counsel made for the purpose of securing legal advice are
protected by [attorney-client] privilege,” United States v. ChevronTexaco Corp., 241 F. Supp. 2d
1065, 1076 (N.D. Cal. 2002). Thus, the redactions should be upheld.




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Entry No. 753 (PRIV-APL-EG_00155569) on the January 22, 2025 Privilege Log.
Entry No. 753 (PRIV-APL-EG_00155569) is an email chain containing draft talking points
related to Apple’s participation in a European press tour in the fall of 2023 related to compliance
with the Digital Markets Act. The email, sent by non-lawyer Scott Radcliffe, states that the draft
talking points incorporate feedback from lawyers Gary Davis and Brendan McNamara (both in-
house counsel). Mr. Radcliffe then re-circulates the draft talking points for further review by
various individuals, including Mr. Davis and Mr. NcNamara. Privilege applies to communications
with and legal advice from lawyers, even where that advice relates to materials intended for use
with the press. See Parneros v. Barnes & Noble, Inc., 332 F.R.D. 482, 498 (S.D.N.Y. 2019);
Pearlstein v. BlackBerry Ltd., 2019 WL 1259382, at *14 (S.D.N.Y. Mar. 19, 2019). Because this
document is a working draft reflecting legal advice, it constitutes privileged attorney-client
communications and should be withheld.




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Entry No. 755 (PRIV-APL-EG_00155579) on the January 22, 2025 Privilege Log.
Entry No. 755 (PRIV-APL-EG_00155579) is an email chain discussing different compliance
issues related to Korea. Apple proposed redactions to only a handful of exchanges between Apple
in-house counsel Sean Cameron and Phil Schiller in which Mr. Cameron provides an update on
Apple’s legal strategy with a foreign regulatory body, Mr. Schiller responds with a question for
further consideration, and Mr. Cameron provides a response and recommendation to Mr. Schiller
after consulting with other members of Apple’s in-house team. Additionally, Apple proposed a
narrow redaction to a response by non-lawyer Ann Thai that is explicitly based on and
incorporating Mr. Cameron’s advice. “[C]ommunications between corporate personnel and their
in-house counsel made for the purpose of securing legal advice are protected by [attorney-client]
privilege,” United States v. ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal. 2002),
as are “confidential disclosures” made “to an attorney in order to obtain legal advice,” In re Meta
Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal. July 10, 2024). Thus, the redactions should
be upheld.




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Entry Nos. 10511 (PRIV-APL-EG_00251372), 10512 (PRIV-APL-EG_00251386), and 10444
(PRIV-APL-EG_00250684) on the January 22, 2025 Privilege Log.

Entry Nos. 10511 and 10512 are Word and PDF versions of a document authored and revised by
attorneys entitled “Alternative Terms Addendum for Apps in the EU.” The draft addendum is a
contract that iOS developers in the EU enter into with Apple. The drafts contain the revisions
made by in-house counsel in track changes, and the parent email (PRIV-APL-EG_00251370) notes
that this new version has not yet gone live. The revised documents contain the initials of in-house
counsel Ling Lew (“LYL”) and a date, demonstrating that these are drafts that she revised.

Similarly, Entry No. 10444 is a draft of a document authored by attorneys entitled “External Link
Account Entitlement Addendum for Reader Apps.” This is a draft addendum to the Developer
Program License Agreement—the contract that all iOS developers enter into with Apple. The
parent document for this entry (PRIV-APL-EG_00250683) is an email from Ling Lew to a number
of Apple employees and in-house counsel noting that the document includes an update adding
tvOS into the addendum. Special Master Walsh deemed the parent email properly withheld for
privilege, because it contains legal advice from in-house counsel.

“Drafting legal documents is a core activity of lawyers, and obtaining information and feedback
from clients is a necessary part of the process.” Diversey U.S. Holdings, Inc. v. Sara Lee Corp.,
1994 WL 71462, at *1 (N.D. Ill. Mar. 3, 1994); see also Se. Pa. Transp. Auth. v. Carmarkpcs
Health, L.P., 254 F.R.D. 253, 258 (E.D. Pa. 2008) (“Preliminary drafts of contracts are generally
protected by attorney/client privilege, since they reflect not only client confidences, but also legal
advice and opinions of attorneys, all of which is protected by the attorney/client privilege.”
(cleaned up)); Barnes-Wallace v. City of San Diego, 2002 WL 35646619, at *4 (S.D. Cal. Dec. 5,
2002) (“As a general rule, preliminary drafts of documents are protected by the attorney-client
privilege.”). As all three of these documents are working drafts reflecting legal advice, they
constitute privileged attorney-client communications and should be withheld.




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DATED: March 10, 2025                   WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                                Mark A. Perry

                                        Counsel for Defendant Apple Inc.




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